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                                    UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                                www.flsb.uscourts.gov
                                                    CHAPTER 13 PLAN (Individual Adjustment of Debts)
                             ■                                   Original Plan
                                                                                Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                                Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: LEONARDO F. DUERTE VIDAL                            JOINT DEBTOR: BELKIS RAJADEL                                 CASE NO.:
SS#: xxx-xx-                                                       SS#: xxx-xx-1561
I.          NOTICES
            To Debtors:              Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                                     and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                                     Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                                     filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:            Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                     be reduced, modified or eliminated.
            To All Parties:          The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                                     box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                              Included            ■   Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                              Included            ■   Not included
  out in Section III
  Nonstandard provisions, set out in Section IX                                                                               Included            ■   Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                    1.      $422.22               for months       1       to 10 ;

                    2.      $430.55               for months 11 to 60 ;

                    3.      $0.00                 for months               to        ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                                              NONE    PRO BONO
        Total Fees:                   $4,500.00          Total Paid:                       $1,500.00          Balance Due:         $3,000.00
        Payable                  $300.00          /month (Months 1              to 10 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        Chapter 13 Fees $4500 paid $1500 and balance will be paid in Plan.

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS                                ■    NONE
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                           ■   NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                                      NONE
               A. Pay               $80.00        /month (Months           1      to 12 )
                     Pay            $387.50       /month (Months 13               to 60 )
                     Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.       ■   If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                       ■   NONE

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                                                                         Debtor(s): LEONARDO F. DUERTE VIDAL, BELK Case number:
VI.         STUDENT LOAN PROGRAM                      ■   NONE
VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                        NONE
      Secured claims filed by any creditor/lessor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                 ■ Unless provided for under a separate section, the debtor(s) request that upon confirmation of this plan, the automatic stay be
                    terminated in rem as to the debtor(s) and in rem and in personam as to any codebtor(s) as to these creditors/lessors. Nothing
                    herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

                 Name of Creditor                         Collateral                              Acct. No. (Last 4 Digits) Assume/Reject
                 Alberto Arver                            Reisdential lease                       N/A
            1.                                                                                                               ■ Assume       Reject
                 5901 W. 10 St.
                 Hialeah Fl 33012
VIII.       INCOME TAX RETURNS AND REFUNDS:                             NONE
                   ■    The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                        annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                        Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                        provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                        increases by more than 3% over the previous year’s income. [Miami cases]
IX.         NON-STANDARD PLAN PROVISIONS                       ■   NONE


                        PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


 /s/Leonardo Duarte                          Debtor       9/21/2021                    /s/ Belkis Rajadel             Joint Debtor   9/21/2021
  LEONARDO F. DUERTE VIDAL                                       Date                   BELKIS RAJADEL                                      Date




    Attorney with permission to sign on                        Date
             Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




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